                           Case 3:22-cv-00741-JO-BLM Document 37-2 Filed 02/12/24 PageID.1046 Page 1 of 5



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                            4 Attorney for California Marine Cleaning, Inc., Plaintiff
                            5
                            6
                            7
                            8                       UNITED STATES DISTRICT COURT
                            9                     SOUTHERN DISTRICT OF CALIFORNIA
                           10 CALIFORNIA MARINE CLEANING, Case No. 3:22-cv-00741-LAB-BLM
                           11 INC.
                                   Plaintiff,             PLAINTIFFS’ INITIAL DISCLOSURES
                           12                             UNDER FEDERAL RULE OF CIVIL
SAN DIEGO, CA 92104-4535




                              v.
  PENNINGTON LAW FIRM




                           13                             PROCEDURE 26
    3304 30TH STREET




                           14 UNITED STATES OF AMERICA
                           15     Defendant.

                           16
                           17 To Defendant United States of America and its attorneys, Plaintiff California Marine
                           18 Cleaning, Inc. (“CMC” or “disclosing party”), hereby submits the following disclosures
                           19 under Federal Rule of Civil Procedure 26 (“Rule 26”.)
                           20        1. Rule 26(a)(1)(A)(i) – The name and, if known, the address and telephone
                           21 number of each individual likely to have discoverable information – along with the
                           22 subjects of that information – that the disclosing party may use to support his or her
                           23 claims or defenses unless the use would be solely for impeachment:
                           24      Name of Individual          Contact Information             Subject Matter
                                                             (Address and Telephone            of Discoverable
                           25
                                                                    Number)                      Information
                           26
                                Joshua Carr                 2049 Main St, San Diego,     CMC’s Material on the
                           27                               CA 92113                     USS Bonhomme Richard,
                                                            (619) 231-8788               value and damages.
                           28
                                                                      Page 1 of 5         Exhibit A, Page 1 of 5
                                      Plaintiffs’ Initial Disclosures under Federal Rule of Civil Procedure 26
                           Case 3:22-cv-00741-JO-BLM Document 37-2 Filed 02/12/24 PageID.1047 Page 2 of 5



                            1   Kirk Boettner                2049 Main St, San Diego,         CMC’s Material on the
                                                             CA 92113                         USS Bonhomme Richard,
                            2                                (619) 231-8788                   value and damages.
                            3   Matt Carr                    2049 Main St, San Diego,         CMC’s Material on the
                                                             CA 92113                         USS Bonhomme Richard,
                            4                                (619) 231-8788                   value and damages.
                            5
                            6
                            7        2. Rule 26(a)(1)(A)(ii) – A copy – or a description by category and location –of
                            8 all documents, electronically stored information, and tangible things that the disclosing
                            9 party has in his or her possession, custody, or control and may use to support his or her
                           10 claims or defenses unless the use would be solely for impeachment. (Please note that
                           11 the disclosing party may either produce the documents, electronically stored
                           12 information, and tangible things or fill in the table below.)
SAN DIEGO, CA 92104-4535
  PENNINGTON LAW FIRM




                           13        Plaintiff’s documents are attached.
    3304 30TH STREET




                           14        Exhibit 1. NASSCO request for price dated December 13, 2017.
                           15        Exhibit 2. NASSCO purchase order number MUH753607-N
                           16        Exhibit 3. Email dated 2020 07 20 from J Carr to T Huber.
                           17        Exhibit 4. Email dated 2020 07 20 from J Carr to M Carr.
                           18        Exhibit 5. Email dated 2020 09 22 from M Carr to F Medina.
                           19        Exhibit 6. Email dated 2020 09 22 from J Carr to M Carr.
                           20        Exhibit 7. Email dated 2020 09 22 from J Carr to M Carr.
                           21        Exhibit 8. Email dated 2020 09 22 from M Carr to F Medina.
                           22        Exhibit 9. Email dated 2020 09 24 from B Goetesch to Liberty Mutual.
                           23        Exhibit 10. Email dated 2020 09 25 from B Goetesch to Liberty Mutual.
                           24        Exhibit 11. Email dated 2020 09 25 from B Goetesch to M Carr.
                           25        Exhibit 12. Email dated 2020 09 25 from B Goetesch to M Carr.
                           26        Exhibit 13. Email dated 2020 10 01 from T Miller to M Carr.
                           27        Exhibit 14. Email dated 2020 10 06 from M Carr to F Medina.
                           28        Exhibit 15. Email dated 2020 10 06 from F Medina to M Carr.

                                                                       Page 2 of 5         Exhibit A, Page 2 of 5
                                       Plaintiffs’ Initial Disclosures under Federal Rule of Civil Procedure 26
                           Case 3:22-cv-00741-JO-BLM Document 37-2 Filed 02/12/24 PageID.1048 Page 3 of 5



                            1        Exhibit 16. Email dated 2020 10 07 from E Quintero to M Carr.
                            2        Exhibit 17. Email dated 2020 10 07 from T Miller to M Carr.
                            3        Exhibit 18. Email dated 2020 10 07 from M Carr to B Goetsch.
                            4        Exhibit 19. Email dated 2020 10 07 from B Goetsch to M Carr.
                            5        Exhibit 20. Email dated 2020 10 07 from M Carr to F Medina.
                            6        Exhibit 21. Email dated 2020 10 07 from M Carr to B Goetsch.
                            7        Exhibit 22. Email dated 2020 10 07 from S Martinez to M Carr.
                            8        Exhibit 23. Email dated 2020 10 07 from M Carr to T Miller.
                            9        Exhibit 24. Email dated 2020 10 08 from F Medina to M Carr.
                           10        Exhibit 25. Email dated 2020 10 12 from T Huber to M Carr.
                           11        Exhibit 26. Email dated 2020 10 16 from T Huber to M Carr.
                           12        Exhibit 27. Email dated 2020 11 11 from T Huber to M Carr.
SAN DIEGO, CA 92104-4535
  PENNINGTON LAW FIRM




                           13        Exhibit 28. Email dated 2020 12 23 from J Carr to M Carr.
    3304 30TH STREET




                           14        Exhibit 29. Email dated 2021 10 15 from K Boettner to A Watson.
                           15        Exhibit 30. Email dated 2021 12 15 from K Boettner to A Watson.
                           16        Exhibit 31. Change order price analysis dated 2020 12 23.
                           17        Exhibit 32. Inspection deficiency report number 20071-0004.
                           18        Exhibit 33. Major fires review dated 2021 07 15.
                           19        Exhibit 34. Department of the Navy command investigation into the BHR fire
                           20 dated 2021 09 15.
                           21        Exhibit 35. California Marine cleaning inventory list for BHR.
                           22        Exhibit 36. Navy Times article dated 2021 12 06.
                           23        Exhibit 37. Blank
                           24        Exhibit 38. California air resources Board report dated May 2022.
                           25        Exhibit 39. Task and purpose article dated 2022 07 06.
                           26        Exhibit 40. United States Navy press release dated 2022 07 15.
                           27        Exhibit 41. Letter from the Sec. of the Navy to Vice Admiral Brown dated
                           28 2022 07 15.
                                                                      Page 3 of 5         Exhibit A, Page 3 of 5
                                      Plaintiffs’ Initial Disclosures under Federal Rule of Civil Procedure 26
                           Case 3:22-cv-00741-JO-BLM Document 37-2 Filed 02/12/24 PageID.1049 Page 4 of 5



                            1        Exhibit 42. Image of the BHR on fire.
                            2        3. Rule 26(a)(1)(A)(iii) – A computation of each category of damages claimed
                            3 by the disclosing party, who must also make available for inspection and copying as
                            4 under Rule 34 the documents or other evidentiary material (unless privileged or
                            5 protected from disclosure) on which each computation is based, including materials
                            6 bearing on the nature and extent of injuries suffered.
                            7        Property damage - $556,225
                            8        Administrative costs related to the loss. $81,200.
                            9        Loss of use of the property. $105,000.
                           10        4. Rule 26(a)(1)(A)(iv) – For inspection and copying as under Rule 34, any
                           11 insurance agreement under which an insurance business may be liable to satisfy all or
                           12 part of a possible judgment in the action or to indemnify or reimburse for payments
SAN DIEGO, CA 92104-4535
  PENNINGTON LAW FIRM




                           13 made to satisfy the judgment:
    3304 30TH STREET




                           14        None.
                           15 August 30, 2022
                              s/ Walt Pennington SBN 214470
                           16 Pennington Law Firm
                              3304 30th Street
                           17 San Diego, CA 92104-4535
                              619 940 6157
                           18 wpennington@pennfirm.com
                              Attorney for California Marine Cleaning, Inc., Plaintiff
                           19
                           20
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                                                                      Page 4 of 5         Exhibit A, Page 4 of 5
                                      Plaintiffs’ Initial Disclosures under Federal Rule of Civil Procedure 26
                           Case 3:22-cv-00741-JO-BLM Document 37-2 Filed 02/12/24 PageID.1050 Page 5 of 5



                            1                             CERTIFICATE OF SERVICE
                            2        I, certify that on August 30, 2022, a true and correct copy of the Plaintiffs’ Initial
                            3 Disclosures under Federal Rule of Civil Procedure 26 is sent via electronic mail to the
                            4 following:
                            5        Kyle Fralick, kyle.fralick@usdoj.gov
                            6        Eric Kaufman-Cohen, eric.kaufman-cohen@usdoj.gov
                            7 s/ Walt Pennington SBN 214470
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SAN DIEGO, CA 92104-4535
  PENNINGTON LAW FIRM




                           13
    3304 30TH STREET




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                                                                      Page 5 of 5         Exhibit A, Page 5 of 5
                                      Plaintiffs’ Initial Disclosures under Federal Rule of Civil Procedure 26
